Case 1:16-cr-00228-LO Document 41 Filed 12/20/17 Page 1 of 2 PageID# 152



              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF VIRGINIA
                         Alexandria Division
UNITED STATES OF AMERICA            )
                                    )
        v.                          )    Case No. 1:16CR228
                                    )
RUSLANS BONDARS                     )
                                    )
        Defendant.                  )

                     NOTICE OF ATTORNEY APPEARANCE

     PLEASE NOTE the appearance of Jessica N. Carmichael, Esq., of the law firm of

Harris Carmichael & Ellis, PLLC, as counsel for the defendant on above matter.

                                           Respectfully Submitted,

                                           RUSLANS BONDARS
                                           By Counsel
                                           HARRIS & CARMICHAEL, PLLC
                                           ________/s/_____________
                                           Jessica N. Carmichael, Virginia Bar 78339
                                           Counsel for Defendant
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Case 1:16-cr-00228-LO Document 41 Filed 12/20/17 Page 2 of 2 PageID# 153



                            CERTIFICATE OF SERVICE

I hereby certify that on this 20th day of December, 2017, I filed the foregoing pleading
through the ECF system, which shall then send an electronic copy of this pleading to all
parties in this action.




                                                    ________/s/_____________
                                                    Jessica N. Carmichael
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